                CASE 0:20-cv-02028-DWF-BRT Doc. 5 Filed 09/23/20 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA


 Kelly Charbonneau,                               Case No.: 20-CV-02028 (DWF/BRT)
                    Plaintiff,
                                                  STIPULATION OF EXTENSION OF
            v.                                    TIME FOR DEFENDANT TO
 Experian Information Solutions, Inc. and         ANSWER OR OTHERWISE PLEAD
 Rushmore Loan Management Services
 LLC,

                    Defendants.


           Defendant Experian Information Solutions, Inc. (“Experian”) and Plaintiff Kelly

Charbonneau, by and through counsel, hereby stipulate to the following:

           1.      That Plaintiff’s complaint was removed on or about September 22, 2020;

           2.      That Defendant Experian will require additional time to investigate the

allegations of the Complaint and respond;

           3.      That Defendant Experian may have until October 8, 2020 to respond to

Plaintiff’s Complaint; and

           4.      That the Court enter an order granting defendant Experian until October 8,

2020 to respond to Plaintiff’s Complaint.




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           CASE 0:20-cv-02028-DWF-BRT Doc. 5 Filed 09/23/20 Page 2 of 2




 Dated: September 23, 2020               s/ Gregory J. Myers
                                         Gregory J. Myers, MN #287398
                                         LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                         100 Washington Ave. South, Suite 2200
                                         Minneapolis, MN 55401
                                         Telephone: (612) 339-6900
                                         Fax: (612) 339-0981
                                         gjmyers@locklaw.com

                                         ATTORNEYS FOR DEFENDANT
                                         EXPERIAN INFORMATION
                                         SOLUTIONS, INC.

 Dated: September 23, 2020               s/ Anthony Chester
                                         Anthony P. Chester, MN #0396929
                                         KAZEROUNI LAW GROUP, APC
                                         120 South 6th Street, Suite 2050
                                         Minneapolis, MN 55402
                                         Telephone: (952) 225-5333
                                         Facsimile: (800) 635-6425
                                         tony@kazlg.com

                                         ATTORNEY FOR PLAINTIFF




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